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 14

 15                        UNITED STATES DISTRICT COURT
 16            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 17
        Edwardo Munoz, individually and on
 18     behalf of all others similarly situated, Case No. 2:18-cv-03893-RGK-AGR
 19
                                 Plaintiff,      PLAINTIFF’S RESPONSE IN
 20                                              OPPOSITION TO
          v.                                     DEFENDANT’S MOTION FOR
 21                                              SUMMARY JUDGMENT
 22     7-Eleven, Inc., a Texas corporation      [Filed concurrently with Statement of
 23                                              Genuine Disputes of Material Fact
                                Defendant.       and Declaration of Steven Woodrow]
 24
                                                 Date: May 13, 2019
 25                                              Time: 9:00 a.m.
 26                                              Judge: Hon. R. Gary Klausner
                                                 Place: Courtroom 850
 27                                              Complaint Filed: May 9, 2018
 28
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  1                MEMORANDUM OF POINTS AND AUTHORITIES
  2   I.    INTRODUCTION
  3         In its Motion for Summary Judgment, Defendant 7-Eleven, Inc. (“Defendant”
  4   or “7-Eleven”) seeks to move the case backwards. That is, 7-Eleven’s primary
  5   argument is that Plaintiff Edwardo Munoz (“Plaintiff” or “Munoz”) supposedly
  6   lacks standing to bring his claims, asserting that Munoz was not injured by its
  7   improper FCRA disclosure form and that he has “fabricated” his allegations of
  8   confusion. Despite Defendant’s bold accusations, its argument is unavailing. First,
  9   the Court already concluded that Plaintiff suffered an injury in fact sufficient to
 10   confer standing without any reference to his relative state of confusion. Second,
 11   Plaintiff’s deposition confirms that he was indeed confused by the form, and a
 12   meticulous, post hoc review of the form with 7-Eleven’s counsel cannot be used to
 13   erase his injury. Defendant’s other arguments—that its form complies with the
 14   FCRA and that any violations weren’t committed willfully—similarly fail in light
 15   of prevailing authority. Accordingly, Plaintiff asks the Court to deny 7-Eleven’s
 16   Motion for Summary Judgment.
 17   II.   ARGUMENT
 18         Defendant’s Motion is divisible into two parts: (1) 7-Eleven argues that
 19   Munoz lacks standing; and (2) 7-Eleven asserts that it did not violate the FCRA,
 20   willfully or otherwise. (See Mot. for Summ. J., ECF 67, at 6–7.) Both arguments
 21   lack merit. First, the Court previously determined that Munoz has standing when it
 22   certified the class, and Defendant’s attempt to relitigate this issue by arguing that
 23   Munoz was not confused by its FCRA disclosure ignores the evidence of record.
 24   Second, 7-Eleven’s disclosure form violates the FCRA, as made clear by recent and
 25   controlling precedent, and Defendant’s unreasonable interpretation of the Act’s
 26   stand-alone requirement constitutes a reckless violation. Accordingly, the Court
 27   should deny 7-Eleven’s Motion for Summary Judgment.
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  1          A.     The Court found that Plaintiff has standing to bring this suit, and
  2                 his testimony confirmed that he was confused by the disclosure.
  3          7-Eleven dedicates a significant portion of its Motion for Summary Judgment
  4   to an attack on Plaintiff’s standing. (ECF 67, at 10–14.) In essence, Defendant
  5   argues that Munoz was not confused by the form and that he therefore was not
  6   harmed by signing 7-Eleven’s expansive form disclosure and authorization. (Id. at
  7   12–13.) These arguments ignore significant portions of Munoz’s actual testimony
  8   (as well as the Court’s own prior class certification Order) and impermissibly
  9   distort the facts.
 10          Of course, a plaintiff must have standing to bring suit, and in a class action,
 11   standing is satisfied if at least one named plaintiff meets the Article III standing
 12   requirements. See Bates v. UPS, 511 F.3d 974, 985 (9th Cir. 2007). Standing
 13   requires that: (1) the plaintiff suffered an injury in fact; (2) the injury is fairly
 14   traceable to the defendant’s conduct; and (3) the injury is redressable by a favorable
 15   decision. Id. In its Order granting class certification on October 18, 2018, the Court
 16   determined that Munoz had established standing:
 17          Here, Plaintiff has established standing. His injury—the procurement
 18          of a consumer report as the result of a faulty FCRA Disclosure Form—
 19          is sufficiently complete and particularized. . . . The consumer report is
 20          traceable to Defendant’s alleged violation of the FCRA and would be
 21          remedied by a ruling in favor of the Plaintiff. Thus, Plaintiff has
 22          established standing, and determinations of harm suffered by additional
 23          members of the class for purposes of Article III standing will not be
 24          necessary.
 25   (Order Re Pl.’s Mot. to Cert. Class, ECF 43, at 3–4) (citations omitted). Hence, the
 26   Court recognized that Munoz has sufficiently established the requisite injury in fact.
 27
        PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
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  1   Munoz contends that 7-Eleven’s disclosure form is unlawfully broad, and because
  2   7-Eleven obtained authorization and procured a background check by way of an
  3   unlawful disclosure, Defendant has violated the privacy rights of Plaintiff and the
  4   members of the Class and Subclass. This alone is sufficient for standing purposes.
  5         Defendant points out in its Motion that certain courts have required a plaintiff
  6   to demonstrate that they were confused by the extraneous information present in the
  7   form that they contend violated the FCRA. (See ECF 67, at 11–12 (citing Williams
  8   v. Nichols Demox, Inc., 2018 WL 3046507, at *3–5 (N.D. Cal. June 20, 2018)).)
  9   Even though the Court made no mention of confusion when finding that Plaintiff
 10   had established standing, Munoz has alleged his confusion since the outset of this
 11   action. (See Am. Compl., ECF 23, at ¶ 6.) Though 7-Eleven cites to various
 12   statements that suggest Munoz understood individual sentences from the form when
 13   read in isolation at his deposition, his testimony actually confirms that he was
 14   confused by the language when he signed the form:
 15         Q: You thought it was just a simple criminal background check?
 16         That’s what you’re saying?
 17         A: Yes. . . . I thought it was just a simple background check that
 18         everybody gives you. . . .
 19         Q: What—what makes it different than what everybody else does?
 20         A: Where—where everybody can contact whoever or whomever
 21         and—and if I would have known that, like I probably wouldn’t have
 22         signed it.
 23   (Woodrow Decl., Ex. A at 140:18–141:10; see also Ex. A at 142:9–21, 145:16–
 24   146:20, 147:16–148:21, 168:2–6 (“Q: And if you understood that 7-Eleven had the
 25   right or was asking you to give them the right to do things like contact past
 26

 27
        PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
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  1   employers and family members, would you have said yes? A: No.”).)1 It is clear
  2   from his testimony that Munoz was confused and did not understand what he was
  3   authorizing.2
  4            Defendant strenuously asserts that because Munoz supposedly understood the
  5   form after reviewing it line-by-line at his deposition, he could not have been
  6   confused by the form. (ECF 67 at 12–13.) The logic of this argument is flawed for
  7   two reasons. First, a review of his deposition transcript reveals that even after an
  8   attorney-guided review of the form he still did not actually understand the scope of
  9   the form and what he had authorized. (See id. at 157:3–23.) Thus, even though the
 10   line-by-line review may have improved his understanding, he remained confused.
 11            Second, an improvement to Munoz’s understanding of the form nearly a year
 12   after he signed it cannot retroactively negate the injury he suffered back when he
 13   was denied an opportunity to meaningfully authorize the report. Plaintiff signed a
 14   form that contained confusing and extraneous information, giving 7-Eleven more
 15   authority to probe his background than he understood or would have permitted. A
 16   post hoc examination of the disclosure with 7-Eleven’s attorneys cannot erase his
 17   signature, and it cannot change that the form confused him.
 18

 19   1
          Indeed, 7-Eleven itself testified that “consumer reports” differ from both
 20       “investigative consumer reports” as well as from “background checks,” and it
          conceded that its FCRA disclosure form referred to and combined all three. (See
 21
          Pl.’s Statement of Uncontroverted Facts and Conclusions of Law (“PSUF”), ECF
 22       70-1 ¶¶ 13–14.) Accordingly, Plaintiff’s confusion as to what the form authorizes
 23
          was not only real, it was (and remains) demonstrably reasonable.

 24   2
          Plaintiff admitted that he didn’t read the entire form, but this was attributable to 7-
 25
          Eleven’s unlawful inclusion of dense sections of extraneous information (and
          Munoz’s misunderstanding of what the form authorized). (See Woodrow Decl.,
 26       Ex. A at 168:8–169:1.) 7-Eleven cannot present a form riddled with extraneous
 27
          information and then hide behind the fact it was too cumbersome to read.
          PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
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  1           Despite 7-Eleven’s contentions, Munoz has standing to bring this class
  2   action. The Court previously found that standing was satisfied, and Plaintiff’s
  3   subsequent testimony has only confirmed that he was confused by 7-Eleven’s
  4   disclosure form. Accordingly, Defendant’s Motion for Summary Judgment should
  5   be denied.3
  6           B.    As explained in Plaintiff’s Motion for Summary Judgment, 7-
  7                 Eleven’s form constitutes a willful violation of the FCRA.
  8           Unable to defeat Munoz’s standing, 7-Eleven additionally argues that it is
  9   entitled to summary judgment because its disclosure form purportedly complied
 10   with the FCRA.4 (ECF 67, at 14–17.) Defendant similarly asserts that any violation
 11   it committed was not willful. (Id. at 18–19.) As Plaintiff explains in his Motion for
 12   Summary Judgment (ECF 70), however, controlling precedent from the Ninth
 13   Circuit establishes definitively that 7-Eleven is mistaken on the law.
 14           Though Munoz has outlined the Act’s stand-alone disclosure requirement in
 15   greater detail in his Motion for Summary Judgment, it bears repeating here: the
 16   FCRA requires that a consumer report disclosure be made “in a document that
 17   consists solely of the disclosure,” and this mandate means what it says. 15 U.S.C. §
 18   1681b(b)(2)(A)(i). Since 2017, the Ninth Circuit has twice considered the meaning
 19   of this language, and each time the Court has reinforced its significance. See Syed v.
 20   M-I, LLC, 853 F.3d 492, 501 (9th Cir. 2017); Gilberg v. Cal. Check Cashing Stores,
 21
      3
 22     At best for 7-Eleven, and only insofar as the Court requires Munoz to demonstrate
 23
        his actual confusion, there remains at minimum a genuine issue of material fact as
        to Plaintiff’s confusion. That is, given his testimony that he was confused and
 24     “probably wouldn’t have signed” the FCRA disclosure had it been clear, a
 25
        reasonable trier of fact could find that Munoz was actually confused so as to meet
        7-Eleven’s test for standing. As such, summary judgment in 7-Eleven’s favor
 26     would be wholly inappropriate.
      4
 27
        7-Eleven has ceased using the FCRA disclosure at issue in this lawsuit.
          PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
 28                                             -5-
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  1   LLC, 913 F.3d 1167, 1175 (9th Cir. 2019). In Syed, the Ninth Circuit held that the
  2   absence of such a mandate from other sections of the FCRA emphasized that
  3   Congress intended it to carry meaning—“solely” means “solely,” and a singular
  4   express exception for a related authorization counsels against additional inclusions.
  5   853 F.3d at 501. And just months ago, the Ninth Circuit reiterated this position in
  6   Gilberg: the statute’s plain language “meant what it said,” and Syed’s holding
  7   applies not only to liability waivers but “to any surplusage.” 913 F.3d at 1175.
  8   Indeed, even related information can be “as likely to confuse as it is to inform,”
  9   which violates the statute and does not further the FCRA’s purpose. Id. at 1176.
 10            Rather than address or even cite to these standards, 7-Eleven instead relies on
 11   an older district court case (presently on appeal) that applied more lenient guidance.
 12   That is, Defendant cites to Walker, a case in which the District of Oregon adopted
 13   the FTC’s more relaxed interpretation of the standalone requirement in finding that
 14   employers may include a limited investigative report disclosure in their forms,
 15   provided that the information doesn’t “overshadow” the consumer report disclosure.
 16   Walker v. Fred Meyer, Inc., No. 3:17-cv-01797-YY, 2018 WL 2455915, at *5 (D.
 17   Or. May 7, 2018); see also FTC Advisory Opinion to Willner (Mar. 25, 1999).
 18   Leaving aside the fact that Walker does not bind this Court, the case was decided
 19   prior to Gilberg’s clear admonishment that Syed wasn’t limited to the inclusion of
 20   liability waivers, and Walker is currently before the Ninth Circuit on appeal.5
 21            7-Eleven’s avoidance of Syed and Gilberg in its Motion is unsurprising—
 22   applied to the case at hand, these controlling opinions instruct that Defendants form
 23   patently violates the FCRA. 7-Eleven’s form combines the disclosures for
 24   consumer reports with the disclosures the FCRA requires for investigative
 25   consumer reports. Furthermore, the form includes extraneous information regarding
 26
      5
 27
          Oral argument is presently set for June 11, 2019.
          PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
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  1   Sterling Talent Solutions, the availability of state law disclosures, and 7-Eleven’s
  2   expansive form authorization. All of this combines to present dense, difficult to
  3   read and understand fine-print to consumers instead of a standalone disclosure.
  4         On the issue of willfulness, the Supreme Court in Safeco held that “reckless
  5   disregard of a requirement of FCRA would qualify as a willful violation” of the
  6   statute. Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47, 71 (2007). Recklessness
  7   requires a showing that the defendant took an action or interpreted a statute in a
  8   manner that was “objectively unreasonable” and creates a risk of violation that is
  9   substantially greater than the risk associated with a careless reading. Id. at 69–70.
 10   This standard has been directly applied by the Ninth Circuit. See Syed, 853 F.3d at
 11   503–06; Shaw v. Experian Info. Sols., Inc., 891 F.3d 749, 760 (9th Cir. 2018). The
 12   Ninth Circuit has expressly held that the standalone requirement at issue here “is
 13   not subject to a range of plausible interpretations.” Syed, 853 F.3d at 505. Rather,
 14   the FCRA “unambiguously forecloses the inclusion of a liability waiver in a
 15   disclosure document.” Id. Likewise, Gilberg confirmed that Syed’s holding applies
 16   to any surplusage. Gilberg, 913 F.3d at 1175.
 17         Once again, 7-Eleven avoids discussing Syed and Gilberg, citing to more
 18   district court opinions that pre-date the Ninth Circuit holdings. Defendant claims
 19   that there is “a dearth of on-point judicial or administrative authorities that analyze
 20   the statute’s requirements.” (ECF 67, at 18.) Syed rejected an identical argument,
 21   explaining that even a lack of definitive judicial authority “does not, as a matter of
 22   law, immunize [a party] from potential liability” for violating the FCRA. Syed, 853
 23   F.3d at 504. Nevertheless, the FCRA is clear—at all times relevant to this case,
 24   Section 1681b(b)(2)(A)(i) has plainly stated as follows:
 25         [A] person may not procure a consumer report, or cause a consumer
 26         report to be procured, for employment purposes with respect to any
 27
        PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
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  1          consumer, unless a clear and conspicuous disclosure has been made in
  2          writing to the consumer at any time before the report is procured or
  3          caused to be procured, in a document that consists solely of the
  4          disclosure, that a consumer report may be obtained for employment
  5          purposes.
  6   15 U.S.C. § 1681b(b)(2)(A)(i). As noted in Syed, the stand-alone requirement is
  7   unambiguous: elaboration by the courts is unnecessary, and individual
  8   interpretation is objectively unreasonable. See Syed, 853 F.3d at 505.
  9          Moreover, the FCRA contains wholly separate and distinct disclosure
 10   provisions for consumer reports and investigative consumer reports. Compare 15
 11   U.S.C. § 1681b(b)(2)(A) with 15 U.S.C. § 1681d(a)–(b). When viewed in light of
 12   the clarity of § 1681b’s standalone provision, it is objectively unreasonable to
 13   conclude that Congress intended to allow employers to combine these two types of
 14   disclosures into a single document (together with other information like 7-Eleven
 15   did here), thereby eviscerating the need for wholly separate provisions in the
 16   statute.
 17          And as if the statute weren’t clear enough, the FTC has issued a number of
 18   advisory opinions, some more than twenty years ago, all of which counsel against
 19   including extraneous information in a consumer report disclosure. As an example,
 20   the Willner opinion, which discusses the stand-alone requirement while taking a
 21   more lenient view, still restricts employers to a “very limited” statement regarding
 22   investigative consumer report disclosures—cautioning employers to be careful so as
 23   not to include information that may “overshadow” the consumer report disclosure.
 24   FTC Advisory Opinion to Willner (Mar. 25, 1999). Willner even provided a short
 25   sample provision, which 7-Eleven far exceeded here. Yet even if 7-Eleven had
 26   followed Willner correctly, the FTC went out of its way to note that, “[t]he surest
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        PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
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  1   way for an employer to comply, of course, would be to provide the [consumer
  2   report disclosure] notice and the [investigative report disclosure] notice in separate
  3   documents.”6 Id. 7-Eleven’s decision to include, among other things, investigative
  4   report details in the disclosure represents an objectively unreasonable and
  5   impermissible interpretation of the FCRA’s unambiguous language.7 Defendant has
  6   had access to the FCRA and the FTC’s advisory letters for two decades—7-
  7   Eleven’s inclusion of extraneous information constitutes a reckless disregard for the
  8   law and, therefore, a willful violation of the FCRA.
  9            By including extraneous information in its consumer report disclosure form,
 10   Defendant has violated the FCRA as a matter of law. The form violates the FCRA’s
 11   stand-alone disclosure requirement, and Defendant’s actions were willful in light of
 12   the statute’s plain language. 7-Eleven’s Motion for Summary Judgment stands
 13   contrary to the law and should be denied accordingly.
 14   V.       CONCLUSION
 15            The Court should deny 7-Eleven’s Motion for Summary Judgment.
 16   Defendant’s attack on Plaintiff’s standing overlooks the Court’s own prior finding
 17   of standing and the facts of record showing that Munoz was indeed confused as a
 18   result of 7-Eleven’s improper FCRA disclosure. Further, 7-Eleven’s consumer
 19   report disclosure violates the FCRA as a matter of law, and Defendant’s violation
 20
      6
          To be sure, the record lacks any separate disclosure from 7-Eleven concerning
 21
          only investigative consumer reports that Defendant could cite to show that it
 22       indeed provided separate disclosures. This is because none was ever provided; 7-
 23
          Eleven ignored the FTC’s warning and combined the two disclosures into a single
          confusing document.
 24
      7
 25
          This is of course in addition to other extraneous information, including disclosures
          regarding state statutory provisions that may be applicable and information about
 26       the background check company, Sterling Talent Solutions. (See PSUF, ECF 70-1
 27
          ¶¶ 5–6.)
          PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
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  1   was willful. Accordingly, the Court should deny 7-Eleven’s motion and award any
  2   such relief as it deems necessary and just.
  3

  4                                          Respectfully Submitted,
  5                                          EDWARDO MUNOZ, individually and on
  6                                          behalf of all others similarly situated,
  7
      Dated: April 22, 2019                  By:      /s/ Steven L. Woodrow
  8                                                    One of Plaintiff’s Attorneys
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  1                           CERTIFICATE OF SERVICE
  2         The undersigned hereby certifies that a true and correct copy of the above
  3   titled document was served upon counsel of record by filing such papers via the
  4   Court’s ECF system on April 22, 2019.
  5                                         /s/ Steven L. Woodrow
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